      CASE 0:10-cr-00275-MJD-FLN      Doc. 245    Filed 12/14/16   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

      Plaintiff,
v.                                                 ORDER
                                                   Crim. No. 10‐275 (02) (MJD)
Robert Garcia,

      Defendant.
_____________________________________________________________________

      This matter is before the Court on the Defendant’s pro se motion for

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2).

      On February 16, 2011, a jury found the Defendant guilty of conspiracy to

distribute methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and

846 as charged in Count 1 of the Indictment and of aiding and abetting

possession with intent to distribute methamphetamine in violation of 21 U.S.C. §§

841(a)(1) and (b)(1)(A) and 18 U.S.C. § 2 as charged in Count 2 of the Indictment.

      At the Defendant’s sentencing hearing, the Court determined the

applicable guideline range to be 360 months to life based on a total offense level

42 and a criminal history category III. The Court varied downward from the

applicable range and sentenced the Defendant to a term of imprisonment of 240

months.


                                         1
      CASE 0:10-cr-00275-MJD-FLN       Doc. 245    Filed 12/14/16   Page 2 of 2




      The Defendant seeks a sentence reduction based on Amendment 782 to the

Sentencing Guidelines which lowered the drug quantity base offense levels by

two levels applicable to certain drug offenses. If applied in this case, the

amended guideline range would be based on a total offense level 40 and a

criminal history category III, resulting in a range of 360 months to life. Because

the guideline range did not change after application of the lower base offense

level, the Defendant is not eligible for a sentence reduction.

      IT IS HEREBY ORDERED that Defendant’s Motion for Sentence Reduction

[Doc. No. 242] is DENIED.

Date: December 13, 2016

                                       s/ Michael J. Davis
                                       Michael J. Davis
                                       United States District Court




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